     Case 10-00217   Doc 1    Filed 02/12/10 Entered 02/12/10 09:41:20   Desc Main
                                Document     Page 1 of 36



                  UNITED STATES BANKRUPTCY COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION

                                            )    Chapter 11 Cases
In re:                                      )
                                            )    Case No. 09-34022
                                            )
PERPETUA-BURR OAK                           )
HOLDINGS
OF ILLINOIS, L.L.C., et al.                 )    Hon. Pamela S. Hollis
                                            )
                                            )
                                            )
                                            )    Adversary Proceeding Complaint
                 Debtors.                   )
___________________________________

ELNORA LOGAN, TANYA M. JOHNSON,
CHANNELL T. MARTIN, TANISHA L.
GLOVER, SHIRLEY JOHNSON,
DALE THOMAS, JENNIFER MOORE,
PEARLIE M. LINZY, REGINA M.
THOMPSON, BRENDA V. LOVE, RUBY L.
JEFFERS, MARILYN N. WILLIAMS-WEBSTER,
CHRISTINE CAMPBELL, VERSTENE HARRIS-
McMAHON, YOLANDA M. CHRISTIAN, SHALLIE
FITZHUGH, ANTONIA BUCHANAN, SHIRLEY
MADDEN, BETTY TYRUS, JANET M. STEWART;


                     Plaintiffs,
v.

PERPETUA, INC.,
PERPETUA – BURR OAK HOLDINGS
OF ILLINOIS, LLC, dba CHICAGO BURR
OAK CEMETERY, PERPETUA HOLDINGS
OF ILLINOIS, INC., dba CEDAR PARK
CEMETERY.

                 Defendants.
_____________________________________


Page 1
  Case 10-00217        Doc 1    Filed 02/12/10 Entered 02/12/10 09:41:20        Desc Main
                                  Document     Page 2 of 36




                      ADVERSARY PROCEEDING COMPLAINT

         Plaintiffs in the above-captioned listing, by and through their attorneys, Michael J.

Dergo III of VanDerGinst Law, P.C., on information and belief, upon investigation of

counsel, and pleading hypothetically and in the alternative, and for their Adversary

Proceeding Complaint against Debtors, Perpetua, Inc. (“Perpetua”), Perpetua Holdings of

Illinois, Inc., dba Cedar Park Cemetery (“Cedar Park”) and Perpetua-Burr Oak Holdings

of Illinois, L.L.C., dba Burr Oak Cemetery (“Burr Oak” and, collectively with Cedar Park

and Perpetua, the “Debtors”), allege and state as follows:



                               JURISDICTION AND VENUE

    1. This Court has jurisdiction over this adversary proceeding pursuant to 28 U.S.C.

         §§ 157, 1331, 1334, and 1367.

    2. This is a core proceeding pursuant to 28 U.S.C. §§ 157(b)(2)(A), (B) and (O).

         This matter is properly brought as an adversary proceeding pursuant to the Federal

         Rules of Bankruptcy Procedure (“FRBP”) AND FRBP Rule 7001(6).

    3. Venue lies in this Court because the claims brought in this Complaint arise under

         Title 11 and are asserted where the underlying bankruptcy case is pending and

         undecided. See 28 U.S.C. §1409(a).




Page 2
  Case 10-00217            Doc 1   Filed 02/12/10 Entered 02/12/10 09:41:20   Desc Main
                                     Document     Page 3 of 36



                                   NATURE OF THE ACTION

    4. This is a complaint to determine whether certain debts are dischargeable under

         Section 11 U.S.C. § 523(a)(6).

    5. On or about June 4, 2009 the Cook County Sheriff’s Office and other Illinois law

         enforcement agencies were made aware that bodies buried at Burr Oak Cemetary,

         4400 West 127th Street, Alsip, Illinois, had been removed from their graves and,

         amongst other things, desecrated, discarded or reburied in other locations in and

         around the cemetery, in order to allow for other bodies to be buried atop them or

         in their plots.

    6. Plaintiffs allege, aver and contend that the mishandling, desecration, and misuse of

         the bodies and grave sites in which their relatives are or were buried was and

         caused intentional and deliberate harm to Plaintiffs. Because the debtors planned

         on causing the consequences of their actions or knew with a reasonable certainty

         that said consequences would occur the debts sought by Plaintiffs are due to the

         willful and malicious injuries inflicted upon them by debtors under 11 U.S.C. §

         523(a)(6).

                                    COMMON ALLEGATIONS

    7. Plaintiffs, by and through their attorneys undersigned, against all debtors, plead

         hypothetically and in the alternative and state the following common allegations.

    8. During June and July 2009 and all time relevant hereto Burr Oak Cemetery was

         located in Cook County at 4400 West 127th Street, Alsip, Illinois. (hereinafter

         “cemetery”); its principal place of business was located at 2435 North Central


Page 3
  Case 10-00217        Doc 1    Filed 02/12/10 Entered 02/12/10 09:41:20      Desc Main
                                  Document     Page 4 of 36



         Expressway, Richardson, Texas 75080 and was commonly known as Chicago

         Burr Oak Cemetery (“Burr Oak Cemetery”) and was a licensee pursuant to the

         Pre-Need Act, license number 016/150/03, the Car Act, license number

         016/1248/01, and the IFBF Act, license number 016/1748/02, since on or about

         June 27, 2001.

    9. During June and July 2009 and all times previously relevant defendant Perpetua

         managed, controlled, owned, operated, maintained and/or possessed the cemetery;

         it was organized under the laws of the state of Florida in 1998.

    10. Perpetua owns all the capital stock of Cedar Park and Perpetua Holdings, Inc.

         d/b/a Wade Funeral Home (“Wade”) and hold all the common interests in Burr

         Oak. It provides administrative, managerial, and support services to Cedar Park,

         Burr Oak and Wade.

    11. During June and July 2009 and all times previously relevant defendant Burr Oak

         managed, controlled, owned, operated, maintained and/or possessed the cemetery.

    12. During June and July 2009 and all times previously relevant defendant Burr Oak

         was an Illinois corporation in good standing.

    13. During June and July 2009 and all times previously relevant defendant Cedar

         Park, organized under the laws of the state of Illinois in 2004,        managed,

         controlled, owned, operated, maintained and/or possessed the cemetery, as well as

         the cemetery and funeral located at 12540 South Halstead, Calumet Park, Illinois.

    14. During June and July 2009 and all times previously relevant defendant Cedar Park

         was an Illinois corporation in good standing.


Page 4
  Case 10-00217        Doc 1    Filed 02/12/10 Entered 02/12/10 09:41:20      Desc Main
                                  Document     Page 5 of 36



    15. Burr Oak Cemetery consists of over 150 acres.

    16. Annual burials at Burr Oak Cemetery approach 1,000 annually.

    17. A study from the Cook County Sheriff’s Police has indicated that approximately

         140,000 to 147,000 are buried at Burr Oak Cemetery while the estimated number

         of graves that the property can properly hold is approximately 138,000.

    18. Debtors employed Carolyn Towns as manager at Burr Oak Cemetery.

    19. The debtors had fiduciary duties and responsibility at all times relevant hereto to

         operate the cemetery with due care and with regard to the dignity and respect of

         deceased and the relatives thereof as they would have for their own property and

         bodies of their own relatives.

    20. During or near May 2009 a cemetery groundskeeper discovered skeletal remains

         in an area of the cemetery that was not, and had not been, used for burials; the

         Alsip police were notified.

    21. On information and belief and at all times relevant hereto all Plaintiffs have

         relatives and/or next of kin who were buried at Burr Oak Cemetery.

    22. On information and belief and at all times relevant hereto the graves of the

         relatives and/or next of kin of Plaintiffs were violated, disturbed, defiled,

         desecrated, removed, and /or improperly maintained.

    23. An investigation revealed mismanagement and wrongdoing at Burr Oak Cemetery

         and the manager, Carolyn Towns, was terminated during May 2009.

    24. On information and belief the debtors conspired and took part in executing a

         scheme during which they dug up graves and either moved the bodies to an unused


Page 5
  Case 10-00217        Doc 1     Filed 02/12/10 Entered 02/12/10 09:41:20        Desc Main
                                   Document     Page 6 of 36



         part of the cemetery or reburied the bodies deeper so that the graves could be

         resold.

    25. At least 300 graves are approximated to have been so violated, disturbed, defiled,

         desecrated, removed, and /or improperly maintained as part of the conspiracy and

         scheme.

    26. An employee and manager of debtors allegedly accepted cash payments for “new

         graves” which were in reality existing graves.

    27. That employee/manager directed grave diggers to empty the existing graves and to

         move the remains to an unused area of the cemetery often in open air but sheltered

         from view by high grass and trees.

    28. Grave diggers were also directed to stack burial vaults on top of older vaults in

         plots which allowed the plots to be double sold; it is undetermined how pervasive

         this practice was or its duration.

    29. During and around July 2009 officials and employees discovered and unearthed

         mass graves of decomposed bodies that had been removed from paid single

         gravesites at the cemetery and reinterred together.

    30. Cook County Sheriff Thomas J. Dart estimated that approximately 300 bodies had

         been disinterred, moved and then dumped into mass graves at the cemetery; he

         stated further that his estimate could increase as the investigation continued.

    31. Investigators have found that burial plots were sold for cash payment after which

         gravediggers would dig up and existing grave, remove the body from that grave

         and dump it elsewhere in the cemetery in order to reuse the plot.


Page 6
  Case 10-00217         Doc 1    Filed 02/12/10 Entered 02/12/10 09:41:20       Desc Main
                                   Document     Page 7 of 36



    32. Investigators have found that on other occasions existing graves were dug up and

         the coffins within were pounded or dug deeper into the ground so that other

         coffins could be placed on top of them so that the plots would be used multiple

         times.

    33. The Burr Oak management and employees dug graves and disposed of bodies in

         remote and secluded areas of the cemetery property in an effort to cover up their

         activities, including areas with tall grass and tress.

    34. The Burr Oak management and employees used higher priced and accessible areas

         near walkways and entryways for resale and reuse of burial plots.

    35. Cemetery records concerning its burial plots have been destroyed.

    36. The price of burial plots range from one thousand to several thousands of dollars

         with additional costs into the thousands of dollars for items such as grave stones,

         markers, vaults, and caskets.

    37. Plaintiffs are the direct relatives or next of kin of the deceased individuals interred

         at Burr Oak Cemetery.

    38. Plaintiffs’ and/or their relatives paid substantial sums of money for the burial

         plots, markers, caskets, serenity, caretaking, upkeep and security for the final and

         peaceful resting place of their deceased relatives and next of kin

    39. Plaintiffs and/or their relatives agreements with debtors and their predecessors

         established that they were to be the sole and rightful possessors and owners of the

         burial plots in which they or their relatives were buried.




Page 7
  Case 10-00217         Doc 1   Filed 02/12/10 Entered 02/12/10 09:41:20         Desc Main
                                  Document     Page 8 of 36



    40. Plaintiffs and/or their relatives paid substantial sums of money for grave stones,

         grave markers and caskets for use with the burial plots.

    41. Upon information and belief, debtors and their employees are alleged to have

         accepted cash payments from purchasers of cemetery goods and services and then

         desecrated previously sold and used gravesites in order to then inter new human

         remains from the aforementioned sales atop or in place of existing human remains

         in the burial plots thereby defrauding consumers of the cemetery’s goods and

         services.

    42. Burial records at Burr Oak Cemetery are allegedly incomplete and inaccurate in

         violation of paragraph (d) of Section 2a of the Care Act, Section 20(a) of the Pre-

         Need Act and Section 3 of the IFBF Act.

    43. Debtors had a nondelegable duty as required by Illinois law to prevent these

         gravesites from desecrated and/or from the deceased being improperly interred or

         disinterred.

    44. Debtors knew or should have known that the plaintiffs were the intended

         beneficiaries of their services and owed the plaintiffs a duty of care to maintain the

         gravesites in a manner required by law and otherwise.

    45. Notwithstanding the foregoing, and upon information and belief, the debtors

         breached their duty to the plaintiffs in one or more of the following ways and by

         committing one or more of the following acts or omissions and in the subsequent

         ways and:




Page 8
  Case 10-00217    Doc 1    Filed 02/12/10 Entered 02/12/10 09:41:20       Desc Main
                              Document     Page 9 of 36



         a. Mutilated, stockpiled, “double stacked,” and illegally and/or improperly

            disposed of human remains in violation of 720 ILCS 5/12-20.5, 410 ILCS

            5/2, 760 ILCS 90/1, 765 ILCS 835/1 and other applicable statutes, laws and

            regulations;

         b. Illegally and/or improperly disinterred or removed human remains in

            violation of 760 ILCS 90/1, 765 ILCS 835/1, III. Admin. Code tit. 77, §

            500.05 and other applicable statutes, laws and regulations;

         c. Resold desecrated and occupied gravesites to unsuspecting family members

            and consumers and to the public;

         d. Removed,       moved,   and/or     desecrated   headstones    marking   and

            memorializing specific decedents’ final resting places in violation of 765

            ILCS 835/1 and other applicable statutes, laws and regulations;

         e. Interfered with Putative Class Plaintiffs and Class Members right to

            properly dispose of the remains of their beloved decedents;

         f. Improperly disposed of disinterred remains in violation of 410 ILCS 5/2,

            III. Admin. Code tit. 77, § 500.05 and other applicable statutes, laws and

            regulations;

         g. Disturbed previously interred remains and failed to re-inter all of the

            remains, in violation of 410 ILCS 5/2, 760 ILCS 90/1, 765 ILCS 835/1, III.

            Admin. Code tit. 77, § 500.05 and other applicable statutes, laws and

            regulations;




Page 9
  Case 10-00217         Doc 1    Filed 02/12/10 Entered 02/12/10 09:41:20         Desc Main
                                  Document     Page 10 of 36



             h. Failed to conduct burials and re-interments in compliance with industry and

                 legal standards in violation of 720 ILCS 5/12-20.5, 410 ILCS 5/2, 760

                 ILCS 90/1, 765 ILCS 835/1, III. Admin. Code tit. 77, § 500.05 and other

                 applicable statutes, laws and regulations;

             i. Failed to properly maintain the cemetery property in accordance with

                 community standards and practices and neglected same such that section

                 markers are missing, records are missing, misplace, destroyed or non-

                 existent, plots and headstones are overgrown with grass and the cemetery is

                 a hazardous zone of danger to all those who visit.

   46. It was foreseeable to debtors that their acts and/or omission would be the

          proximate cause of injury, damage and expense to plaintiffs, economic and non-

          economic, physically and emotionally, to Plaintiffs.

   47. As a direct and proximate cause of one or more of the aforementioned acts and/or

          omissions of the debtors, plaintiffs suffered and continue to suffer injuries of a

          personal and pecuniary nature, and plaintiffs have suffered and continue to suffer

          severe and extreme emotional distress.

   48. The mishandling, desecration, and misuse of the bodies and grave sites in which

          the plaintiffs’ relatives are and were buried constitutes the existence of a deliberate

          or intentional injury to the plaintiffs. As such, the debtors have either desired to

          cause the consequences of their actions, or believed with reasonable certainty that

          such consequences would occur. Accordingly, the debts herein sought to be




Page 10
  Case 10-00217         Doc 1    Filed 02/12/10 Entered 02/12/10 09:41:20         Desc Main
                                  Document     Page 11 of 36



          established by the plaintiffs constitute “willful and malicious” injuries as defined

          by Section 11 U.S.C. § 523(a)(6)

                                  Count I – Common Law Fraud

   49. Plaintiffs incorporate, adopt and reallege paragraphs 1-45 as though fully set forth

          herein.

   50. During and prior to June and July 2009 debtors undertook to provide funeral,

          burial, cemetery, and/or dispositional services for plaintiffs’ benefit and debtors

          sought to accomplish and maintain the burial of plaintiffs’ decedents’ remains in

          what was to be their final and peaceful resting place.

   51. At various times in and prior to June and July 2009 debtors represented and stated

          to plaintiffs that the burials and/or disposals of the remains of plaintiffs’

          decedents’ remains would be accomplished in the manner that plaintiffs directed

          and purchased and in compliance with legal standards and industry practice.

   52. Debtors’ statements to plaintiffs were false and untrue because debtors omitted

          their true intentions to deceive plaintiffs and debtors failed to carry out the burials

          and/or disposals of the remains of plaintiffs’ decedents in the manner that

          plaintiffs directed and purchased and in compliance with industry and legal

          standards.

   53. Rather, the debtors engaged in or acquiesced to numerous abhorrent practices,

          including, but not limited to: 1) interring decedents’ remains in grave sites

          occupied by other decedents’ remains (“double stacking”) ; 2) disrupting or

          removing the contents of grave sites; 3) improperly disposing of disinterred


Page 11
  Case 10-00217         Doc 1      Filed 02/12/10 Entered 02/12/10 09:41:20      Desc Main
                                    Document     Page 12 of 36



          remains; 4) selling occupied cemetery plots; 5) disturbing headstones; 6)

          disturbing previously interred remains; and 7) failing to or improperly reinterring

          remains or full remains.

   54. The debtors’ statements aforementioned were known by them to be false and

          untrue at the time that said statements were made.

   55. The debtors’ statements aforementioned were made with a purposeful intent by

          debtors to deceive and defraud plaintiffs and to induce plaintiffs to rely on those

          statements so that plaintiffs would procure burial plots and other services for

          themselves and or their decedents’ remains.

   56. Plaintiffs justifiably believed debtors’ statements to be true and in reliance thereon

          plaintiffs were induced to choose and/or maintain Burr Oak Cemetery as the

          purported final and peaceful resting places for their decedents’ remains.

   57. Debtors, with the intention of deceiving plaintiffs, fraudulently committed the

          following acts and/or omissions, and /or failed to inform plaintiffs of the following

          acts and/or omissions:

             a. Mutilated, stockpiled, “double stacked,” and illegally and/or improperly

                 disposed of human remains in violation of 720 ILCS 5/12-20.5, 410 ILCS

                 5/2, 760 ILCS 90/1, 765 ILCS 835/1 and other applicable statutes, laws and

                 regulations;

             b. Illegally and/or improperly disinterred or removed human remains in

                 violation of 760 ILCS 90/1, 765 ILCS 835/1, III. Admin. Code tit. 77, §

                 500.05 and other applicable statutes, laws and regulations;


Page 12
  Case 10-00217     Doc 1    Filed 02/12/10 Entered 02/12/10 09:41:20       Desc Main
                              Document     Page 13 of 36



          c. Resold desecrated and occupied gravesites to unsuspecting family members

             and consumers and to the public;

          d. Removed,       moved,   and/or     desecrated   headstones    marking   and

             memorializing specific decedents’ final resting places in violation of 765

             ILCS 835/1 and other applicable statutes, laws and regulations;

          e. Interfered with Putative Class Plaintiffs and Class Members right to

             properly dispose of the remains of their beloved decedents;

          f. Improperly disposed of disinterred remains in violation of 410 ILCS 5/2,

             III. Admin. Code tit. 77, § 500.05 and other applicable statutes, laws and

             regulations;

          g. Disturbed previously interred remains and failed to re-inter all of the

             remains, in violation of 410 ILCS 5/2, 760 ILCS 90/1, 765 ILCS 835/1, III.

             Admin. Code tit. 77, § 500.05 and other applicable statutes, laws and

             regulations;

          h. Failed to conduct burials and re-interments in compliance with industry and

             legal standards in violation of 720 ILCS 5/12-20.5, 410 ILCS 5/2, 760

             ILCS 90/1, 765 ILCS 835/1, III. Admin. Code tit. 77, § 500.05 and other

             applicable statutes, laws and regulations;

          i. Failed to properly maintain the cemetery property in accordance with

             community standards and practices and neglected same such that section

             markers are missing, records are missing, misplace, destroyed or non-




Page 13
  Case 10-00217            Doc 1    Filed 02/12/10 Entered 02/12/10 09:41:20         Desc Main
                                     Document     Page 14 of 36



                    existent, plots and headstones are overgrown with grass and the cemetery is

                    a hazardous zone of danger to all those who visit.

   58. As a direct and/or proximate result of one or more of these fraudulent acts and/or

          omissions of debtors, plaintiffs suffered and will continue to suffer injuries of a

          personal and pecuniary nature, including severe and extreme emotional distress.

   WHEREFORE, based upon the foregoing, plaintiffs pray that this Honorable Court:

   A. Enter an order awarding plaintiffs damages on this Count;

   B. Enter an order awarding plaintiffs their costs, interest and attorneys’ fees;

   C. Enter an order pursuant to 11 U.S.C. § 523 denying the debtors a discharge as to

          all amount owed by debtors to plaintiffs and for entry of judgment of

          nondischargeability in favor of plaintiffs;

   D. For any such other or further relief as this Honorable Court deems proper and just.

               Count II – Consumer Fraud and Deceptive Business Practices
                                (815 ILCS 505/1 et seq.)

   59. Plaintiffs incorporate, adopt and reallege paragraphs 1-55 as though fully set forth

          herein.

   60. Debtor’s         actions    or   practices   with   respect   to   the   above    referenced

          misrepresentations,      concealments,     and/or   omissions     constitute   deceptive,

          fraudulent, and/or unfair business practices in violation of the Illinois Consumer

          Fraud and Deceptive Business Practices Act (815 ILCS 505/1, et seq.).

   61. The debtors were and at all time relevant hereto were engaged in trade and

          commerce in the state of Illinois.



Page 14
  Case 10-00217         Doc 1    Filed 02/12/10 Entered 02/12/10 09:41:20      Desc Main
                                  Document     Page 15 of 36



   62. The debtors practices included, but were not limited to, the advertising and selling

          of cemetery services that included: 1) opening and closing of graves and

          interment; 2) sale of burial plots; 3) cemetery care; 4) pre-need cemetery

          merchandise, services and spaces.

   63. Debtors engaged in unfair or deceptive acts or practices that are declared unlawful

          pursuant to section 2 of the Consumer Fraud and Deceptive Business Practices

          Act, 815 ILCS 505/2, in that, in the course of offering for sale, selling, and

          providing cemetery services and merchandise to plaintiffs, the debtors:

             a. Mutilated, stockpiled, “double stacked,” and illegally and/or improperly

                disposed of human remains in violation of 720 ILCS 5/12-20.5, 410 ILCS

                5/2, 760 ILCS 90/1, 765 ILCS 835/1 and other applicable statutes, laws and

                regulations;

             b. Illegally and/or improperly disinterred or removed human remains in

                violation of 760 ILCS 90/1, 765 ILCS 835/1, III. Admin. Code tit. 77, §

                500.05 and other applicable statutes, laws and regulations;

             c. Resold desecrated and occupied gravesites to unsuspecting family members

                and consumers and to the public;

             d. Removed,        moved,   and/or    desecrated   headstones    marking   and

                memorializing specific decedents’ final resting places in violation of 765

                ILCS 835/1 and other applicable statutes, laws and regulations;

             e. Interfered with Putative Class Plaintiffs and Class Members right to

                properly dispose of the remains of their beloved decedents;


Page 15
  Case 10-00217         Doc 1   Filed 02/12/10 Entered 02/12/10 09:41:20       Desc Main
                                 Document     Page 16 of 36



             f. Improperly disposed of disinterred remains in violation of 410 ILCS 5/2,

                III. Admin. Code tit. 77, § 500.05 and other applicable statutes, laws and

                regulations;

             g. Disturbed previously interred remains and failed to re-inter all of the

                remains, in violation of 410 ILCS 5/2, 760 ILCS 90/1, 765 ILCS 835/1, III.

                Admin. Code tit. 77, § 500.05 and other applicable statutes, laws and

                regulations;

             h. Failed to conduct burials and re-interments in compliance with industry and

                legal standards in violation of 720 ILCS 5/12-20.5, 410 ILCS 5/2, 760

                ILCS 90/1, 765 ILCS 835/1, III. Admin. Code tit. 77, § 500.05 and other

                applicable statutes, laws and regulations;

             i. Failed to properly maintain the cemetery property in accordance with

                community standards and practices and neglected same such that section

                markers are missing, records are missing, misplace, destroyed or non-

                existent, plots and headstones are overgrown with grass and the cemetery is

                a hazardous zone of danger to all those who visit.

   64. Debtor’s above referenced conduct violates the Consumer Fraud and Deceptive

          Business Practices Act and because of that violation and pursuant to the statute

          plaintiffs are entitled to recover reasonable attorneys’ fees and punitive damages

          in an adequate amount so as to punish and deter conduct such as that of the debtors

          and penalize the conduct of the debtors.




Page 16
  Case 10-00217         Doc 1    Filed 02/12/10 Entered 02/12/10 09:41:20       Desc Main
                                  Document     Page 17 of 36



   WHEREFORE, based upon the foregoing, plaintiffs pray that this Honorable Court:

   A. Enter an order awarding plaintiffs damages on this Count;

   B. Enter an order awarding plaintiffs their costs, interest and attorneys’ fees;

   C. Enter an order pursuant to 11 U.S.C. § 523 denying the debtors a discharge as to

          all amount owed by debtors to plaintiffs and for entry of judgment of

          nondischargeability in favor of plaintiffs;

   D. For any such other or further relief as this Honorable Court deems proper and just.

                                    Count III - Conversion

   65. Plaintiffs incorporate, adopt and reallege paragraphs 1-61 as though fully set forth

          herein.

   66. During and around June and July 2009, and at all times relevant hereto, plaintiffs

          were the owners and had the right of possession to certain personal property

          located at the Burr Oak Cemetery located in Alsip, Illinois, including, but not

          limited to, plaintiffs’ decedents’ remains, caskets, headstones, burial markers,

          burial containers, and/or funds for maintenance.

   67. Upon information and belief, prior to June and July 2009, debtors took and

          unlawfully converted the remains of plaintiffs’ decedents for their own use and

          benefit by relocating said remains to mass graves containing the remains of at least

          300 persons, thereby rendering identification and return of plaintiffs’ decedents’

          remains to plaintiffs virtually impossible.

   68. Upon information and belief, prior to June and July 2009, debtors took and

          unlawfully converted plaintiffs’ caskets, headstones, burial markers, and/or burial


Page 17
  Case 10-00217         Doc 1    Filed 02/12/10 Entered 02/12/10 09:41:20         Desc Main
                                  Document     Page 18 of 36



          containers for their own use and benefit by relocating plaintiffs’ caskets,

          headstones, burial markers, and/or burial containers to unknown locations and

          destroying and/or selling those properties.

   69. Upon information and belief, prior to June and July 2009, debtors took and

          unlawfully converted plaintiffs’ funds for maintenance of gravesites for their own

          use and benefit by using the funds for improper uses other than the caring for and

          maintenance of plaintiffs’ decedents gravesites.

   70. Debtors’ failure to return the properties to plaintiffs was and is harassing and

          vexatious.

   71. Debtors’ taking and conversion of plaintiffs’ properties was willful and malicious

          and done with a wanton disregard of plaintiffs’ rights in that debtors knew that

          plaintiffs were the lawful owners of the property.

   72. Debtors willfully and maliciously discarded, destroyed, and/or sold plaintiffs’

          property, preventing any chance at recovery.

   73. Debtors willfully and maliciously discarded, destroyed, and/or sold plaintiffs’

          property, preventing any chance at recovery.

   74. The market value of the properties subject to the alleged conversion is in excess of

          the jurisdictional amount and debtors’ conduct has caused plaintiffs severe and

          emotional distress such that plaintiffs are entitled to reasonable attorneys’ fees and

          punitive damages in a sum sufficient to punish and deter conduct such as that of

          the debtors and penalize the conduct of the debtors.




Page 18
  Case 10-00217         Doc 1    Filed 02/12/10 Entered 02/12/10 09:41:20       Desc Main
                                  Document     Page 19 of 36



   WHEREFORE, based upon the foregoing, plaintiffs pray that this Honorable Court:

   A. Enter an order awarding plaintiffs damages on this Count;

   B. Enter an order awarding plaintiffs their costs, interest and attorneys’ fees;

   C. Enter an order pursuant to 11 U.S.C. § 523 denying the debtors a discharge as to

          all amount owed by debtors to plaintiffs and for entry of judgment of

          nondischargeability in favor of plaintiffs;

   D. For any such other or further relief as this Honorable Court deems proper and just.

                                   Count IV – Gross Negligence

   75. Plaintiffs incorporate, adopt and reallege paragraphs 1-73 as though fully set forth

          herein.

   76. At all times relevant hereto the debtors had statutory and common law duties to

          plaintiffs to utilize professional care in the burial, burial plot maintenance,

          handling, preparation, supervision, and cemetery operations of the Burr Oak

          Cemetery with respect to plaintiffs decedents and to them and to plaintiffs.

   77. Debtors had an affirmative duty to ensure that the Burr Oak Cemetery premises

          would not be used in an unauthorized, improper, and unapproved manner, The

          debtors had an affirmative duty to operate the Burr Oak Cemetery in a manner

          consistent with the standard of care and due regard for the handling and

          disposition of dead bodies and burial sites as is customary and accepted practice

          within the industry.




Page 19
  Case 10-00217         Doc 1    Filed 02/12/10 Entered 02/12/10 09:41:20        Desc Main
                                  Document     Page 20 of 36



   78. These duties included, but are not limited to, an obligation to be in possession of

          such usual and customary records and knowledge that would allow the debtors to

          show and plaintiffs to verify that aforementioned proper handling and disposition

          did not create a situation where illegal, improper, and/or unauthorized operation

          could cause foreseeable injuries to plaintiffs.

   79. Debtors, by and through their acts and omissions, failed to operate the cemetery in

          a manner consistent with the standard of care and due regard for the handling and

          disposition of dead bodies as is customary and accepted within the industry, and

          such acts and omissions were grossly negligent and/or reckless.

   80. Debtors’ conduct demonstrates complete lack of care and reckless disregard and

          great indifference as to the remains of plaintiffs’ decedents, property, and property

          rights, and was willful, outrageous and malicious beyond all bounds of civilized

          human decency.

   81. Debtors knew or should have known that their acts and/or omissions would

          proximately cause injury, damage, and expense to plaintiffs, economic and

          otherwise and physically and emotionally and the debtors’ acts and/or omissions

          recklessly disregarded the severe emotional distress that would foreseeably

          emanate from such repulsive behavior.

   82. As a direct and proximate cause of debtors’ grossly negligent and/or reckless acts

          and/or omissions plaintiffs have suffered severe emotional distress, including,

          without limitation, loss of enjoyment of life, loss of right to grieving and

          mourning, horror, grief, guilt, shame, embarrassment, worry, anxiety, anger and


Page 20
  Case 10-00217            Doc 1   Filed 02/12/10 Entered 02/12/10 09:41:20      Desc Main
                                    Document     Page 21 of 36




WHEREFORE, based upon the foregoing, plaintiffs pray that this Honorable Court:

   A. Enter an order awarding plaintiffs damages on this Count;

   B. Enter an order awarding plaintiffs their costs, interest and attorneys’ fees;

   C. Enter an order pursuant to 11 U.S.C. § 523 denying the debtors a discharge as to

          all amount owed by debtors to plaintiffs and for entry of judgment of

          nondischargeability in favor of plaintiffs;

   D. For any such other or further relief as this Honorable Court deems proper and just.

                        Count V – Intentional Infliction of Emotional Distress

   83. Plaintiffs incorporate, adopt and reallege paragraphs 1-81 as though fully set forth

          herein.

   84. Debtors, upon information and belief, committed the following acts and/or

          omissions, and/or failed to inform plaintiffs of the following acts and/or

          omissions:

             a. Mutilated, stockpiled, “double stacked,” and illegally and/or improperly

                    disposed of human remains in violation of 720 ILCS 5/12-20.5, 410 ILCS

                    5/2, 760 ILCS 90/1, 765 ILCS 835/1 and other applicable statutes, laws and

                    regulations;




Page 21
  Case 10-00217     Doc 1    Filed 02/12/10 Entered 02/12/10 09:41:20       Desc Main
                              Document     Page 22 of 36



          b. Illegally and/or improperly disinterred or removed human remains in

             violation of 760 ILCS 90/1, 765 ILCS 835/1, III. Admin. Code tit. 77, §

             500.05 and other applicable statutes, laws and regulations;

          c. Resold desecrated and occupied gravesites to unsuspecting family members

             and consumers and to the public;

          d. Removed,       moved,   and/or     desecrated   headstones    marking   and

             memorializing specific decedents’ final resting places in violation of 765

             ILCS 835/1 and other applicable statutes, laws and regulations;

          e. Interfered with Putative Class Plaintiffs and Class Members right to

             properly dispose of the remains of their beloved decedents;

          f. Improperly disposed of disinterred remains in violation of 410 ILCS 5/2,

             III. Admin. Code tit. 77, § 500.05 and other applicable statutes, laws and

             regulations;

          g. Disturbed previously interred remains and failed to re-inter all of the

             remains, in violation of 410 ILCS 5/2, 760 ILCS 90/1, 765 ILCS 835/1, III.

             Admin. Code tit. 77, § 500.05 and other applicable statutes, laws and

             regulations;

          h. Failed to conduct burials and re-interments in compliance with industry and

             legal standards in violation of 720 ILCS 5/12-20.5, 410 ILCS 5/2, 760

             ILCS 90/1, 765 ILCS 835/1, III. Admin. Code tit. 77, § 500.05 and other

             applicable statutes, laws and regulations;




Page 22
  Case 10-00217            Doc 1   Filed 02/12/10 Entered 02/12/10 09:41:20      Desc Main
                                    Document     Page 23 of 36



             i. Failed to properly maintain the cemetery property in accordance with

                    community standards and practices and neglected same such that section

                    markers are missing, records are missing, misplace, destroyed or non-

                    existent, plots and headstones are overgrown with grass and the cemetery is

                    a hazardous zone of danger to all those who visit.

   85. Debtors knew or should have known that the above acts and/or omissions, and/or

          failure to inform plaintiffs of the above acts and/or omissions, would have a

          substantial certainty of causing plaintiffs severe and extreme emotional distress.

   86. Plaintiffs have suffered and continue to suffer severe and extreme emotional

          distress

WHEREFORE, based upon the foregoing, plaintiffs pray that this Honorable Court:

   A. Enter an order awarding plaintiffs damages on this Count;

   B. Enter an order awarding plaintiffs their costs, interest and attorneys’ fees;

   C. Enter an order pursuant to 11 U.S.C. § 523 denying the debtors a discharge as to

          all amount owed by debtors to plaintiffs and for entry of judgment of

          nondischargeability in favor of plaintiffs;

   D. For any such other or further relief as this Honorable Court deems proper and just.

             Count VI – Tortious Interference with Plaintiffs’ Next of Kin Rights

   87. Plaintiffs incorporate, adopt and reallege paragraphs 1-85 as though fully set forth

          herein.

   88. The next of kin have a right to the possession of a decedent’s remains in order to

          make appropriate disposition thereof by burial or otherwise.


Page 23
  Case 10-00217         Doc 1    Filed 02/12/10 Entered 02/12/10 09:41:20         Desc Main
                                  Document     Page 24 of 36



   89. Debtors’s acts of destroying and damaging the remains of plaintiffs’ decedents,

          removing any portion of the remains of the decedents, or desecrating the burial

          ground, constitutes knowing, reckless, willful, and wanton conduct that interfered

          with the rights of the plaintiffs, who as next of kin, have a right to possess and

          preserve the bodies of their respective decedents.

   90. The acts of the debtors violated the Cemetery Protection Act, 765 ILCS 835, et

          seq., which prohibits: 1) the willful and knowing destruction and damage of the

          remains of a deceased human being; 2) the willful and knowing removal of any

          portion of the remains of a deceased human being; and 3) the willful and knowing

          obliteration or desecration of a burial ground where remains are buried.

   91. Debtors knew or should have known that their acts and/or omissions would

          proximately cause injury, damage, and expense of plaintiffs, and debtors acted

          with reckless disregard for the severe emotional distress that was foreseeably and

          substantially certain to occur.

   92. As a direct and proximate cause of the debtors’s grossly negligent and/or reckless

          acts and/or omissions, plaintiffs have suffered severe emotional distress, all of

          which would not have occurred but for the acts and/or omissions of the debtors.

   93. As a direct and proximate cause of the debtors’ grossly negligent and/or reckless

          acts and/or omissions, plaintiffs have suffered severe emotional distress, including,

          but not limited to, loss of enjoyment of life, loss of right to grieving and mourning,

          horror, grief, shame, embarrassment, anger and depression, all of which would not

          have occurred but for the willful, reckless and/or gross negligence of debtors.


Page 24
  Case 10-00217         Doc 1    Filed 02/12/10 Entered 02/12/10 09:41:20        Desc Main
                                  Document     Page 25 of 36



   WHEREFORE, based upon the foregoing, plaintiffs pray that this Honorable Court:

   A. Enter an order awarding plaintiffs damages on this Count;

   B. Enter an order awarding plaintiffs their costs, interest and attorneys’ fees;

   C. Enter an order pursuant to 11 U.S.C. § 523 denying the debtors a discharge as to

          all amount owed by debtors to plaintiffs and for entry of judgment of

          nondischargeability in favor of plaintiffs;

   D. For any such other or further relief as this Honorable Court deems proper and just.

                                Count VI – Unjust Enrichment

   94. Plaintiffs incorporate, adopt and reallege paragraphs 1-92 as though fully set forth

          herein.

   95. At all times relevant hereto plaintiffs paid the debtors for cemetery and burial

          services, uses and products that were for the benefit and care of their decedents

   96. Debtors failed to provide Plaintiffs the cemetery and burial services, uses and

          products that were for the benefit and care of their decedents, notwithstanding

          receipt of payment for the same.

   97. Debtors retention of payments for cemetery and burial services, uses and products

          which were not properly provided to plaintiffs caused the debtors to be unjustly

          enriched by the amount of payments so received.

   98. It would be unfair, unjust and inequitable to permit the debtors to retain payments

          received thereby

   WHEREFORE, based upon the foregoing, plaintiffs pray that this Honorable Court:

          A. Enter an order awarding plaintiffs damages on this Count;


Page 25
  Case 10-00217           Doc 1    Filed 02/12/10 Entered 02/12/10 09:41:20       Desc Main
                                    Document     Page 26 of 36



          B. Enter an order awarding plaintiffs their costs, interest and attorneys’ fees;

          C. Enter an order pursuant to 11 U.S.C. § 523 denying the debtors a discharge as

             to all amount owed by debtors to plaintiffs and for entry of judgment of

             nondischargeability in favor of plaintiffs;

          D. For any such other or further relief as this Honorable Court deems proper and

             just.

                       Count VII – Negligent Infliction of Emotional Distress

   99. Plaintiffs incorporate, adopt and reallege paragraphs 1-97 as though fully set forth

          herein.

   100.             At all times relevant hereto, debtors had a statutory and common law duty

          to plaintiffs to utilize professional due care in the handling, preparation, burial,

          maintenance, supervision and cemetery operations of the Burr Oak Cemetery and

          decedents buried or entombed therein.

   101.             Debtors had an affirmative duty to assure that the cemetery premises would

          not be used in an unauthorized and unapproved manner.

   102.             Debtors had an affirmative duty to operate the cemetery in a manner

          consistent with the standard of care and with due regard for the handling,

          disposition and care of dead bodies and burial sites customary and accepted in the

          industry.

   103.             Those duties included the obligation to be in possession of such usual and

          customary records and knowledge such as would enable the debtors to assure

          plaintiffs that such handling, disposition and care did not create a condition or


Page 26
  Case 10-00217         Doc 1    Filed 02/12/10 Entered 02/12/10 09:41:20            Desc Main
                                  Document     Page 27 of 36



          situation where illegal, improper or unauthorized operation could foreseeably

          cause psychic and physical injury to plaintiffs.

   104.          Because a cemetery is a fixed physical location and is a place for burial of

          the dead and for the living to visit, it was both contemplated by and foreseeable to

          debtors that plaintiffs would visit their decedents’ at the cemetery.

   105.          Plaintiffs did visit their decedents’ gravesites at the cemetery.

   106.          The acts and omissions described herein have caused the cemetery to be

          physically hazardous due to the unearthed bones, potential biological

          contamination and other improper practices such that plaintiffs fell into a zone of

          danger during visits to the cemetery.

   107.          Because of debtors acts and omissions described herein plaintiffs are now

          made to visit their decedents’ gravesites at the cemetery in order to seek to

          determine if those sites have been disturbed, desecrated, removed or otherwise

          altered.

   108.          Debtors’ acts and omissions begat their failure to operate the cemetery in a

          manner consistent with the standard of care and with proper regard for the

          handling, disposition and care of dead bodies customary and accepted in the

          industry and thereby were negligent.

   109.          Debtors knew or should have known that their acts and omissions as

          described herein would be the proximate cause of injury, damage and expense,

          both economic and non-economic, both physical and emotional, to plaintiffs and




Page 27
  Case 10-00217          Doc 1    Filed 02/12/10 Entered 02/12/10 09:41:20        Desc Main
                                   Document     Page 28 of 36



          the debtors acted with reckless disregard for the severe emotional distress that they

          could foresee such conduct was substantially certain to cause plaintiffs.

   110.            As a direct and proximate result of the debtors’ negligent acts of omission

          and commission plaintiffs suffered severe emotional distress, loss of enjoyment of

          life, loss of right to sepulture, stigma damages, loss of right to grieving and

          mourning, and have suffered contemporaneously physical injury or illness

          resulting from the emotional distress, including the aggravation of preexisting

          conditions, all of which would not have occurred to them, but for the negligence of

          the debtors.

   111.            The severe emotional distress suffered by plaintiffs includes, but is not

          limited to, all exceedingly unpleasant mental reactions such as fright, horror, grief,

          guilt, shame, humiliation, embarrassment, anger, chagrin, disappointment, worry,

          anxiety, depression and nausea. Plaintiffs have incurred, and will continue to

          incur, medical and psychological expenses in an effort to become cured or relieved

          from the effects of their mental distress.

          WHEREFORE, based upon the foregoing, plaintiffs pray that this Honorable

          Court:

          A. Enter an order awarding plaintiffs damages on this Count;

          B. Enter an order awarding plaintiffs their costs, interest, and attorneys’ fees;

          C. Enter an order pursuant to 11 U.S.C. § 523 denying the debtors a discharge as

             to all amount owed by debtors to plaintiffs and for entry of judgment of

             nondischargeability in favor of plaintiffs;


Page 28
  Case 10-00217          Doc 1   Filed 02/12/10 Entered 02/12/10 09:41:20       Desc Main
                                  Document     Page 29 of 36



          D. For any such other or further relief as this Honorable Court deems proper and

             just.

          Count VIII – Reckless/Grossly Negligent Infliction of Emotional Distress

   112.          Plaintiffs incorporate, adopt and reallege paragraphs 1-110 as though fully

          set forth herein.

   113.          At all times relevant hereto, debtors had a statutory and common law duty

          to plaintiffs to utilize professional due care in the handling, preparation, burial,

          maintenance, supervision and cemetery operations of the Burr Oak Cemetery and

          decedents buried or entombed therein.

   114.          Debtors had an affirmative duty to assure that the cemetery premises would

          not be used in an unauthorized and unapproved manner and to operate the

          cemetery in a manner consistent with the standard of care and with due regard for

          the handling, disposition and care of dead bodies and burial sites customary and

          accepted in the industry.

   115.          Those duties included the obligation to be in possession of such usual and

          customary records and knowledge such as would enable the debtors to assure

          plaintiffs that such handling, disposition and care did not create a condition or

          situation where illegal, improper or unauthorized operation could foreseeably

          cause psychic and physical injury to plaintiffs.

   116.          Debtors failed to operate the cemetery, via their acts and omissions,

          consistently with the standard of care and with proper regard for the handling,




Page 29
  Case 10-00217         Doc 1    Filed 02/12/10 Entered 02/12/10 09:41:20         Desc Main
                                  Document     Page 30 of 36



          disposition and care of dead bodies and burial sites customary and accepted in the

          industry and were grossly negligent and/or reckless in those regards.

   117.          Debtors conduct demonstrates a complete lack of care or attention to duty

          and great indifference to the remains of plaintiffs’ decedents and to plaintiffs’

          property and property rights and can be characterized as being outrageous or

          malicious and beyond all bounds of decency of civilized society.

   118.          Debtors knew or should have known that their acts and omissions as

          described herein would be the proximate cause of injury, damage and expense,

          both economic and non-economic, both physical and emotional, to plaintiffs and

          the debtors acted with reckless disregard for the severe emotional distress that they

          could foresee such conduct was substantially certain to cause plaintiffs.

   119.          As a direct and proximate result of the debtors’ grossly negligent and/or

          reckless acts of omission and commission plaintiffs suffered severe emotional

          distress, loss of enjoyment of life, loss of right to sepulture, stigma damages, loss

          of right to grieving and mourning, and have suffered contemporaneously physical

          injury or illness resulting from the emotional distress, including the aggravation of

          preexisting conditions, all of which would not have occurred to them, but for the

          negligence of the debtors.

   120.          The severe emotional distress suffered by plaintiffs includes, but is not

          limited to, all exceedingly unpleasant mental reactions such as fright, horror, grief,

          guilt, shame, humiliation, embarrassment, anger, chagrin, disappointment, worry,

          anxiety, depression and nausea. Plaintiffs have incurred, and will continue to


Page 30
  Case 10-00217           Doc 1    Filed 02/12/10 Entered 02/12/10 09:41:20         Desc Main
                                    Document     Page 31 of 36




          WHEREFORE, based upon the foregoing, plaintiffs pray that this Honorable

          Court:

          A.       Enter an order awarding plaintiffs damages on this Count;

          B.       Enter an order awarding plaintiffs their costs, interest, and attorneys’ fees;

          C.       Enter an order pursuant to 11 U.S.C. § 523 denying the debtors a discharge

                   as to all amount owed by debtors to plaintiffs and for entry of judgment of

                   nondischargeability in favor of plaintiffs;

          D.       For any such other or further relief as this Honorable Court deems proper

                   and just.

               Count IX – Tortious Interference with Dead Bodies/Abuse of a Corpse

   121.            Plaintiffs incorporate, adopt and reallege paragraphs 1-119 as though fully

          set forth herein.

   122.            The next of kin have a right to the possession of a decedent’s remains in

          order to make appropriate disposition thereof, whether by burial or otherwise.

   123.            Debtors’ conduct of destroying and damaging the remains of plaintiffs

          decedents by removing any portion of the remains of the decedents and in

          obliterating or desecrating a burial ground where remains are buried, or a grave,

          crypt, vault, mausoleum, or other repository of human remains was reckless,

          willful and wanton and knowingly interfered with the right of plaintiffs who are

          next of kin to possess and preserve the bodies of their respective decedents.


Page 31
  Case 10-00217         Doc 1    Filed 02/12/10 Entered 02/12/10 09:41:20        Desc Main
                                  Document     Page 32 of 36



   124.          The actions of debtors violated the Cemetery Protection Act, 765 MCS

          835/1(a) which prohibits the willful and knowing destruction and damage of the

          remains of a deceased human being, (a-5) which prohibits the willful and knowing

          removal of any portion of the remains of deceased human being, and 765 MCS

          835/1(b)(1) which prohibits the willful and knowing obliteration or desecration of

          a burial ground where remains are buried, or a grave, crypt, vault, mausoleum, or

          other repository of human remains.

   125.          The acts of the debtors otherwise constitute tortious conduct amounting to

          abuse of a corpse.

   126.          That abuse, as described herein, constitutes an intentional or reckless

          interference with the possessory rights each plaintiff has to the decedents’ remains.

   127.          Debtors knew or should have known that their acts and omissions as

          described herein would be the proximate cause of injury, damage and expense,

          both economic and non-economic, both physical and emotional, to plaintiffs and

          the debtors acted with reckless disregard for the severe emotional distress that they

          could foresee such conduct was substantially certain to cause.

   128.          As a direct and proximate result of the debtors negligent acts and omissions

          the plaintiffs have suffered severe emotional distress, loss of enjoyment of life,

          loss of right to sepulture, stigma damages, loss of right to grieving and mourning,

          and have suffered contemporaneously physical injury or illness resulting from the

          emotional distress, including the aggravation of preexisting conditions, all of

          which would not have occurred to them, but for the negligence of the debtors.


Page 32
  Case 10-00217          Doc 1    Filed 02/12/10 Entered 02/12/10 09:41:20        Desc Main
                                   Document     Page 33 of 36



   129.            The severe emotional distress suffered by plaintiffs includes, but is not

          limited to, all exceedingly unpleasant mental reactions such as fright, horror, grief,

          guilt, shame, humiliation, embarrassment, anger, chagrin, disappointment, worry,

          anxiety, depression and nausea. Plaintiffs have incurred, and will continue to

          incur, medical and psychological expenses in an effort to become cured or relieved

          from the effects of their mental distress.

          WHEREFORE, based upon the foregoing, plaintiffs pray that this Honorable

          Court:

          A. Enter an order awarding plaintiffs damages on this Count;

          B. Enter an order awarding plaintiffs their costs, interest, and attorneys’ fees;

          C. Enter an order pursuant to 11 U.S.C. § 523 denying the debtors a discharge as

             to all amount owed by debtors to plaintiffs and for entry of judgment of

             nondischargeability in favor of plaintiffs;

          D. For any such other or further relief as this Honorable Court deems proper and

             just.

                                      Count X - Conspiracy

   130.            Plaintiffs incorporate, adopt and reallege paragraphs 1-128 as though fully

          set forth herein.

   131.            Debtors, as a combination of two or more persons, conspired together for

          the purpose of accomplishing by some concerted action either an unlawful purpose

          or a lawful purpose by unlawful means.




Page 33
  Case 10-00217          Doc 1     Filed 02/12/10 Entered 02/12/10 09:41:20      Desc Main
                                    Document     Page 34 of 36



   132.          The unlawful purpose of the conspiracy was the violation of the sanctity of

          the burial plots, headstones, grave markers and decedents remains for the purpose

          of economic gain.

   133.          Debtors as conspirators committed the overt acts previously described and

          alleged herein in furtherance of the conspiracy, which overt acts were all tortious

          or unlawful in nature.

   WHEREFORE, based upon the foregoing, plaintiffs pray that this Honorable Court:

   A. Enter an order awarding plaintiffs damages on this Count;\

   B. Enter an order awarding plaintiffs their costs, interest, and attorneys’ fees;

   C. Enter an order pursuant to 11 U.S.C. § 523 denying the debtors a discharge as to

          all amount owed by debtors to plaintiffs and for entry of judgment of

          nondischargeability in favor of plaintiffs;

   D. For any such other or further relief as this Honorable Court deems proper and just.

                  Count XI – Negligent Hiring, Retention and Supervision

   134.          Plaintiffs incorporate, adopt and reallege paragraphs 1-132 as though fully

          set forth herein.

   135.          Debtors had a duty to the general public and to plaintiffs specifically to use

          ordinary care and attention in the selection of their agents and employees to whom

          they expose its customers who are at their lowest point emotionally and are

          looking to place their trust and faith in a trained cemetery professional to assist

          them in getting through what may be the most difficult time in their life.




Page 34
  Case 10-00217         Doc 1    Filed 02/12/10 Entered 02/12/10 09:41:20         Desc Main
                                  Document     Page 35 of 36



   136.          Debtors breached their above stated duty by failing to properly investigate

          the credentials, training, and background of the Burr Oak Cemetery manager,

          Carolyn Towns; debtors additionally breached their above stated duty by

          continuing to retain manager Carolyn Towns; debtors additionally breached their

          above stated duty by failing to properly supervise Carolyn Towns.

   137.          Debtors knew or should have known that their acts and omissions also

          described herein would be the proximate cause of injury, damage and expense,

          both economic and non-economic, both physical and emotional, to plaintiffs and

          the debtors acted with reckless disregard for the severe emotional distress that they

          could foresee such conduct was substantially certain to cause.

   138.          As a direct and proximate result of the debtors negligent acts and omissions

          the plaintiffs have suffered severe emotional distress, loss of enjoyment of life,

          loss of right to sepulture, stigma damages, loss of right to grieving and mourning,

          and have suffered contemporaneously physical injury or illness resulting from the

          emotional distress, including the aggravation of preexisting conditions, all of

          which would not have occurred to them, but for the negligence of the debtors.

   139.          The severe emotional distress suffered by plaintiffs includes, but is not

          limited to, all exceedingly unpleasant mental reactions such as fright, horror, grief,

          guilt, shame, humiliation, embarrassment, anger, chagrin, disappointment, worry,

          anxiety, depression and nausea. Plaintiffs have incurred, and will continue to

          incur, medical and psychological expenses in an effort to become cured or relieved

          from the effects of their mental distress.


Page 35
  Case 10-00217         Doc 1     Filed 02/12/10 Entered 02/12/10 09:41:20          Desc Main
                                   Document     Page 36 of 36



                                         Demand for Jury Trial

          Plaintiffs demand a trial by jury on all issues so triable as a matter of right.




                 DATED: February 2, 2010

                                                  Respectfully submitted,



                                                  /s/       /MJD/
                                                  Michael J. Dergo III
                                                  ATTORNEY FOR PLAINTIFFS




Page 36
